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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

 

JAMES
UNITED STATES OF AMERICA ) BY:
) :
Vv. ) No. 4:17CR00293 BSM
)
DANIEL ADAME, aka Punky )

PLEA AGREEMENT

The United States Attorney for the Eastern District of Arkansas, Cody Hiland, by and
through Liza Jane Brown, Assistant United States Attorney, the Chief of the Organized Crime and
Gang Section, United States Department of Justice, David L. Jaffe, by and through Marianne
Shelvey, Trial Attorney, and Daniel Adame, defendant, represented by the undersigned counsel,
hereby agree to the following terms and conditions in connection with the above referenced
proceedings.

1. GUILTY PLEA: The defendant will enter a plea of guilty to Conspiracy to
Distribute and Possess with Intent to Distribute a mixture or substance containing a detectable
amount of methamphetamine (at least 5 kilograms, but less than 15 kilograms), a violation of Title
21, United States Code, Sections 846 and 841(b)(1)(A), as set forth in Count 1 of the Indictment.
The United States agrees to move for dismissal of the remaining counts against the defendant in
this matter upon acceptance of the guilty plea. This is a Federal Rule of Criminal Procedure
11(c)(1)(A) and (B) plea agreement.

2. ELEMENTS OF THE CRIME: The parties agree the elements of the offense
to which the defendant will plead guilty are:

A. Two or more persons reached an agreement or came to an understanding to

commit an offense, namely, Distribution and Possession with Intent to Distribute a mixture
or substance containing a detectable amount of methamphetamine;

   
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B. The defendant voluntarily and intentionally joined in the agreement or
understanding either at the time it was first reached or at some later time while it was still
in effect; and

C. At the time the defendant joined in the agreement or understanding, he knew
the purpose of the agreement or understanding.

The defendant agrees that he is guilty of the offense charged and each of these elements
is true.

3. PENALTIES:

A. STATUTORY PENALTIES: The penalty for the charge set forth in Count

 

1 is not less than 10 years, and up to life imprisonment, a fine of not more than $10,000,000, not
less than 5 years supervised release, and a $100 special assessment.

B. SUPERVISED RELEASE: Supervised release is a period of time

 

following imprisonment during which defendant will be subject to various restrictions and
requirements. Defendant understands that if defendant violates one or more of the conditions of
any supervised release imposed, the defendant may be returned to prison for all or part of the term
of supervised release, which could result in defendant serving a total term of imprisonment greater
than the statutory maximum stated above.

4. WAIVERS: The defendant acknowledges that he has been advised of and fully
understands the nature of the charges to which the plea is offered, the mandatory minimum penalty
provided by law, if any, and the maximum possible penalty provided by law. The defendant
further understands that by entering into this Agreement and Addendum, he is waiving certain
constitutional rights, including, without limitation, the following:

A. The right to appeal or collaterally attack, to the full extent of the law, all non-

jurisdictional issues, including any forfeiture or restitution order, as follows:
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(1) the defendant waives the right to appeal all non-jurisdictional issues
including, but not limited to, any issues relating to pre-trial motions, hearings and discovery and
any issues relating to the negotiation, taking or acceptance of the guilty plea or the factual basis
for the plea, including the sentence imposed or any issues that relate to the establishment of the
Guideline range, except that the defendant reserves the right to appeal claims of prosecutorial
misconduct and the defendant reserves the right to appeal the sentence if the defendant makes a
contemporaneous objection because the sentence imposed is above the Guideline range that is
established at sentencing;

(2) the defendant expressly acknowledges and agrees that the United
States reserves its right to appeal the defendant’s sentence under Title 18, United States Code,
’ Section 3742(b) and United States v. Booker, 543 U.S. 220 (2005);

(3) the defendant waives all rights to collaterally attack the conviction
and sentence in any post-conviction proceeding, including one pursuant to Title 28, United States
Code, Section 2255, except for claims based on ineffective assistance of counsel or prosecutorial
misconduct;

(4) the defendant waives the right to have the sentence modified
pursuant to Title 18, United States Code, Section 3582(c)(2);

(5) the defendant waives the right to appeal the Court’s determination
of the amount of restitution and subsequent restitution order, if any; and,

(6) the defendant waives the right to appeal the Court’s determination
of any forfeiture issues and subsequent forfeiture order, if any.

B. The right to plead not guilty or to persist in that plea if it has already been

made, and the right to a speedy and public trial before a jury;
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C, The right to be presumed innocent and to have the burden of proof placed
on the United States to establish guilt beyond a reasonable doubt;

D. The right to confront and cross examine witnesses;

E. The right to testify in his own behalf if the defendant so chooses, or, the
right to remain silent and not be compelled to testify, and to have that choice not used against the
defendant;

F, The right to call witnesses and to require those witnesses to appear by
issuing subpoenas.

G. Pursuant to Federal Rule of Criminal Procedure 11(b)(1)(O), the defendant
understands that upon conviction, a defendant who is not a United States citizen may be removed
from the United States, denied citizenship, and denied admission to the United States in the future. |

5. STIPULATIONS: The United States and the defendant stipulate to the
following:

A. BASE OFFENSE LEVEL AGREEMENT: The parties agree that the
base offense level for the offense is determined by the quantity of drugs. The parties agree and
stipulate that the quantity of drugs actually involved in the offense, including relevant conduct, is
greater than 5 kilograms, but less than 15 kilograms of a mixture or substance containing a
detectable amount of methamphetamine. Thus, the base offense level is 34. The parties agree
that the defendant should receive a two (2) point increase, as the defendant possessed a dangerous
weapon (a firearm). . However, nothing in this plea agreement shall prevent the base offense level
and/or the defendant’s criminal history category from being calculated under U.S.S.G. § 4B1.1

(Career Offender), if found to apply in this case.
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B. CHAPTER THREE ADJUSTMENTS: The parties agree and stipulate
that, pursuant to Section 3E1.1 of the Sentencing Guidelines, the defendant is eligible for a two
(2) level reduction for acceptance of responsibility, unless the defendant takes any action between
the entry of the guilty plea and the imposition of sentence that is inconsistent with acceptance of
responsibility. Ifthe offense level is 16 or greater, the determination of whether the defendant is
eligible for a third level reduction for acceptance of responsibility will be made by the United
States at the time of sentencing. |

Cc, The parties agree that no party will seek any additional offense level
increases or decreases under Section 2D1.1, Chapter 3, or Chapter 5 of the Sentencing Guidelines
except for those specifically identified in this Plea Agreement.

D. The defendant specifically waives any and all challenges to the searches,
seizures, arrests, statements, and forfeitures that have taken place as of the date of the execution
of this plea agreement by the defendant in this investigation by any entity, and in any forum where
the offense may be pursued and/or forfeiture may be sought. Defendant will assist in executing
any requested waiver of challenge and relinquishment of rights to any and all assets that have been
seized to date in this investigation by any participating agency or department, in any forum where
the forfeiture may be sought.

The parties understand that the Court is not bound by these stipulations. The
defendant further understands that if the Court does not accept this Plea Agreement, the defendant
is not entitled to withdraw the guilty plea or otherwise be released from defendant's obligations
under this Agreement and Addendum.

6. SENTENCING GUIDELINES: It is specifically understood by the defendant

that the Sentencing Guidelines are not mandatory but are advisory, and that the Coutt is to consult
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them in determining the appropriate sentence. The defendant understands that the determination
of the applicability of the Guidelines and of the appropriate sentence will be made by the Court.
The defendant is aware that any estimate of the probable sentencing range under the Sentencing
Guidelines that the defendant may have received from the defendant's counsel, the United States,
or the Probation Office, is merely a prediction, not a promise, and is not binding on the United
States, the Probation Office, or the Court. The United States makes no promise or representation
concerning what sentence the defendant will receive and the defendant cannot withdraw a guilty
plea, or otherwise avoid the defendant's obligations under this Agreement and Addendum, based
upon the actual sentence imposed by the Court. The parties understand and agree that if the
guideline range is greater or less than the defendant or the United States expected it to be, and/or
the sentence imposed by the Court is greater or lesser than anticipated, neither the defendant nor
the United States will be allowed to withdraw, nor request withdrawal of, the guilty plea, nor be
excused from any obligation under this Agreement and Addendum.
7. ALLOCUTION: The United States reserves the right to bring any and all facts
which it believes are appropriate to the attention of the Court.
8. COOPERATION IN THE SENTENCING PROCESS:

A. The defendant agrees to truthfully provide all information to the Probation
Office as is needed for preparation of the pre-sentence report, including, but not limited to, criminal
history information. The defendant shall voluntarily provide a complete and truthful written
accounting of the defendant's criminal history to the Probation Office.

B. The defendant agrees to execute all waivers necessary for the preparation

of the pre-sentence report.
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Cc. The defendant understands and acknowledges that the defendant's
obligation of disclosure regarding criminal history is not limited to arrests and convictions reported
in computer databases, but requires the defendant to disclose all arrests and/or convictions,
including any juvenile matters, regardless of whether the defendant believes the arrest/conviction
counts under the Sentencing Guidelines.

D. The defendant is required to comply with these obligations no later than the
expiration of the date on which objections to the pre-sentence report are due.

9. FINANCIAL MATTERS:

A, FINANCIAL STATEMENT: The defendant agrees to fully and truthfully
complete a Financial Statement provided by the United States Probation Office.

B. FINES: The defendant understands that unless the Court determines that
the defendant is financially unable to pay a fine, the Court must impose a fine pursuant to the
Sentencing Reform Act of 1984.

C. SPECIAL PENALTY ASSESSMENT: The defendant agrees to pay to the
United States a special assessment of $100.00 per count, as required by Title 18, United States
Code, Section 3013. This special assessment is to be paid by bank cashier's check or money order
as directed by the Court. Cashier's checks or money orders should be made payable to "Clerk,
United States District Court."

D. RESTITUTION: The parties also state that restitution is not applicable,
and that there are not victims who are due restitution from the defendant.

10. DOUBLE JEOPARDY AND SUCCESSIVE PROSECUTION: The United

States Attorney for the Eastern District of Arkansas will bring no further charges against the
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_ defendant for any acts or conduct arising out of the events described in the Indictment, which is
the subject of this action, unless the defendant breaches this Agreement and Addendum.

11. RECORDS: The defendant hereby waives all rights, whether asserted directly or
by a representative, to request or receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case, including without limitation any
records that may be sought under the Freedom of Information Act, 5 U.S.C. Section 552, or the
Privacy Act of 1974, 5 U.S.C. Section 552a.

12. CIVIL CLAIMS BY THE GOVERNMENT: Except to the extent otherwise
expressly specified herein, this Agreement and Addendum does not bar or compromise any civil
or administrative claim pending or that may be made against the defendant, including but not
limited to tax matters.

13. EFFECT OF DEFENDANT'S BREACH OF PLEA AGREEMENT AND
ADDENDUM: |

A. Defendant acknowledges and understands that if the defendant violates any
term of this Agreement and Addendum, engages in any further criminal activity prior to
sentencing, or fails to appear for any subsequent proceeding including sentencing, the United
States shall have, in addition to all other rights and remedies otherwise available, the right to:

(1) _ terminate this Agreement and Addendum; or
(2) proceed with this Agreement and Addendum and
(a) deny any and all benefits to which the defendant would
otherwise be entitled under the terms of this Agreement and Addendum; and/or
(b) advocate for any sentencing enhancement that may be

appropriate.
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B. In the event the United States elects to terminate this Agreement and
Addendum, the United States shall be released from any and all obligations hereunder. The
defendant acknowledges and understands that the agreement of the United States to dismiss any
charge is conditioned upon final resolution of this matter. If this Agreement and Addendum is
terminated or if the defendant's conviction ultimately is overturned, then the United States retains
the right to reinstate any and all dismissed charges and to file any and all charges which were not
filed because of this Agreement and Addendum.

~C, The defendant hereby knowingly and voluntarily waives any defense based
upon the applicable statute of limitations and/or the Speedy Trial Act, for any charges reinstated
or otherwise filed against the defendant as a result of defendant's breach of this Agreement and
Addendum, so long as the United States initiates any otherwise time barred action within one year
of termination or revocation of this Agreement and Addendum.

D. In the event that the Agreement and Addendum is terminated or if the
defendant successfully moves to withdraw his plea, any statement made by the defendant in
negotiation of, or in reliance on this Agreement and Addendum, including this Agreement, the
stipulations in paragraph 5 of this Agreement, and the plea colloquy, but excepting statements
made pursuant to any proffer agreement entered into between the parties:

(1) may be used in the United States’ case in chief and to cross examine
the defendant should he testify in any subsequent proceeding; and/or

(2) any leads derived therefrom may be used by the United States.
The defendant waives any and all rights to the contrary and shall assert no claim under the United
States Constitution, any statute, or any rule of procedure or evidence to the contrary, including

Federal Rule of Evidence 410 and Federal Rule of Criminal Procedure 11(f). Defendant has been
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advised of his rights pursuant to Federal Rule of Evidence 410 and Federal Rule of Criminal
Procedure 11(f) and waives these rights.

14. PARTIES: This Agreement and Addendum is binding only upon the United
States Attorney's Office for the Eastern District of Arkansas and the defendant. It does not bind
any United States Attorney outside the Eastern District of Arkansas, nor does it bind any other
federal, state or local prosecuting, administrative, or regulatory authority.

15. MISCELLANEOUS:

A. MODIFICATION: No term or provision contained herein may be

modified, amended or waived except by express written agreement signed by the party to be bound

thereby.

 

B. HEADINGS AND CAPTIONS: Subject headings and captions are
included herein for convenience purposes only and shall not affect the interpretation of this
Agreement and Addendum.

C. WAIVER: No waiver of a breach of any term or provision of this
Agreement and Addendum shall operate or be construed as a waiver of any subsequent breach or
limit or restrict any other right or remedy otherwise available. Any waiver must be expressly
stated in writing signed by the party to be bound thereby. .

D. RIGHTS AND REMEDIES CUMULATIVE: The rights and remedies of
the United States expressed herein upon any breach hereunder by the defendant are cumulative
and not exclusive of any rights and remedies otherwise available to the United States in the event
of any breach of this Agreement and Addendum by defendant.

E. JOINT NEGOTIATION: This Agreement and Addendum has been

mutually negotiated by the parties hereto, and any uncertainty or ambiguity existing herein shall
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not be interpreted against any party by reason of its drafting of this Agreement and Addendum,
but instead shall be interpreted according to the application of the general rules of interpretation
for arms length agreements. |

16. NOQOTHER TERMS: This document and the Addendum completely reflect all
promises, agreements and conditions made between the parties, constitute the entire agreement
between the parties and supersedes any and all prior agreements or understandings between the
parties, oral or written, with respect to the subject matter hereof.

17. APPROVALS AND SIGNATURES:

A. DEFENDANT: The defendant has read this Agreement and Addendum
and carefully reviewed every part of it with his attorney. The defendant understands and
voluntarily agrees to the terms and condition of this Agreement and Addendum. Further, the
defendant has consulted with his attorney and fully understands his rights with respect to the
provisions of the United States Sentencing Guidelines which may apply to this case. No other
promises or inducements have been made to the defendant, other than those expressly contained
in this Agreement and Addendum. In addition, no one has threatened or forced the defendant in
any way to enter into this Agreement and Addendum. Defendant further acknowledges that
defendant has entered into this Agreement and Addendum, consciously and deliberately, by
defendant's free choice, and without duress, undue influence or otherwise being forced or
compelled to do so, and this Agreement and Addendum constitutes the legal, valid and binding
obligation of the defendant, fully enforceable against defendant in accordance with its terms.
Finally, the defendant is satisfied with the representation of his attorney in this case.

B. DEFENSE COUNSEL: Defense counsel acknowledges that he is the

attorney for the defendant, and that he has fully and carefully discussed every part of this
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Agreement and Addendum with the defendant. Further, defense counsel has fully and carefully
advised the defendant of the defendant's rights, of possible defenses, and of the consequences of
entering into this Agreement and Addendum, including the possible consequences of not
complying with this Agreement and Addendum. To counsel's knowledge, the defendant's

decision to enter into this Agreement and Addendum is an informed and voluntary decision.

DATED this oth day of Tirweng 2019.

CODY HILAND
United States Attorney

DAVID L. JAFFE

DAY Crime & Gang Section

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